                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:15-cr-23-PLR-SKL
 v.                                                    )
                                                       )
 JASON BOSTON                                          )

                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the thirteen count

 Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count One of

 the Indictment, that is of conspiracy to distribute and possess with intent to distribute a mixture and

 substance containing methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (3)

 adjudicate Defendant guilty of the lesser offense of the charge in Count One of the Indictment, that

 is of conspiracy to distribute and possess with intent to distribute a mixture and substance containing

 methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (4) defer a decision on

 whether to accept the amended plea agreement until sentencing; and (5) find Defendant shall remain

 in custody until sentencing in this matter [Doc. 222 ]. Neither party filed a timely objection to

 the report and recommendation.         After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation.             Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation [Doc. 222 ] pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to the lesser offense of the charge in Count One of the




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            Indictment, that is of conspiracy to distribute and possess with intent to distribute a

            mixture and substance containing methamphetamine, in violation of 21 U.S.C.

            §§ 846 and 841(b)(1)(C) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

            One of the Indictment, that is, of conspiracy to distribute and possess with intent to

            distribute a mixture and substance containing methamphetamine, in violation of 21

            U.S.C. §§ 846 and 841(b)(1)(C);

      (4)   A decision on whether to accept the amended plea agreement is DEFERRED until

            sentencing; and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on December 16, 2015 at 1:00 p.m. [EASTERN] before the

            Honorable Pamela L. Reeves.

      SO ORDERED.

      ENTER:



                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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